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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                     CASE NUMBER:


    HIDDEN EMPIRE HOLDINGS, LLC, et al.                                2:22−cv−06515−MWF−AGR
                                                     Plaintiff(s),

             v.
    DARRICK ANGELONE , et al.
                                                                       NOTICE TO FILER OF DEFICIENCIES IN
                                                   Defendant(s).               FILED DOCUMENT




    PLEASE TAKE NOTICE:

    The following problem(s) have been found with your filed document:

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                                                    Clerk, U.S. District Court

    Dated: March 5, 2024                            By: /s/ Ingrid Valdes ingrid_valdes@cacd.uscourts.gov
                                                       Deputy Clerk

    cc: Assigned District Judge and/or Magistrate Judge



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